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                                                                  Page 338
           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEVADA
                         -   -  -
        CUNG LE, NATHAN QUARRY, JON: CIVIL ACTION
        FITCH, BRANDON VERA, LUIS  :
        JAVIER VAZQUEZ, and KYLE   :
        KLINGSBURY on behalf of    :
        themselves an others       :
        Similarly situated,        :
                     Plaintiffs    : CASE NO.
                                   : 2:15-cv-01045-RFB
               vs.                 : (PAL)
                                   :
        ZUFFA, LLC d/b/a ULTIMATE  :
        FIGHTING CHAMPIONSHIP and  :
        UFC,                       :
                     Defendants    :

                         -   -   -
                Tuesday, January 23, 2018
                           DAY 2
                         -   -   -
               Continuation of videotaped
        deposition of HAL J. SINGER, Ph.D., taken
        pursuant to notice, was held at the
        offices of BERGER & MONTAGUE, P.C., 1622
        Locust Street, Philadelphia, PA 19103,
        commencing at 10:19 a.m., on the above
        date, before Lori A. Zabielski, a
        Registered Professional Reporter and
        Notary Public in and for the Commonwealth
        of Pennsylvania.
                         -   -   -
                  MAGNA LEGAL SERVICES
                      866.624.6221
                     www.MagnaLS.com
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                                                                  Page 550
   1    customers or buyers in your -- in the

   2    relevant output market you have defined?

   3                        MR. CRAMER:         Asked and

   4               answered.

   5                        THE WITNESS:         I think they

   6               are an intermediate -- an

   7               intermediary that stands between

   8               the customers and the producers of

   9               the events, and only for a small

  10               sliver of what I consider the

  11               valuable television that's being

  12               produced here.

  13    BY MR. ISAACSON:

  14               Q.       So does that mean they are

  15    or are not customers or buyers in your

  16    relevant output market?

  17               A.       I think -- sorry.

  18                        MR. CRAMER:         I was going to

  19               say, same objection.

  20                        Go ahead.        You may answer.

  21                        THE WITNESS:         I would -- I

  22               would say it depends on how you

  23               want to -- what question are you

  24               trying to answer?
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                                                                  Page 551
   1    BY MR. ISAACSON:

   2               Q.       I am talking about the

   3    questions you are answering that you are

   4    defining in your market.                I am talking

   5    about your relevant output market.

   6               A.       Sure.

   7               Q.       Are the buyer -- are the

   8    broadcast networks buyers or customers in

   9    that market?

  10                        MR. CRAMER:         Same objection.

  11                        THE WITNESS:         I think

  12               that -- I would have to go back to

  13               my initial report, but if I am

  14               remembering correctly, I was

  15               looking at to where viewers would

  16               go in response to a SSNIP in the

  17               output market, not where cable

  18               distributors would go, not where

  19               cable networks would go.               I was

  20               looking at where viewers would go.

  21               That's my memory, sitting here

  22               today, as to -- as to how I

  23               performed the SSNIP in the output

  24               market.
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                                                                  Page 552
   1    BY MR. ISAACSON:

   2               Q.       So at the -- by the end of

   3    your reply report, you have not done a

   4    SSNIP analysis for your output market for

   5    sponsors; is that correct?

   6                        MR. CRAMER:         Objection to

   7               form.

   8                        THE WITNESS:         I would have

   9               to go back and look at my initial

  10               report, but I -- my -- sitting

  11               here, I don't -- I don't recall

  12               doing that.

  13    BY MR. ISAACSON:

  14               Q.       Okay.     And at the end of

  15    your reports, for your -- for the

  16    relevant output market you have defined,

  17    you haven't done a SSNIP analysis for

  18    broadcast networks; is that correct?

  19               A.       I think the same answer.

  20    It's possible I had record evidence that

  21    spoke to the views of broadcasters, but

  22    I -- sitting here, that's not what I

  23    recall.

  24               Q.       Okay.     For your relevant
Case 2:15-cv-01045-RFB-BNW Document 743-22 Filed 09/12/19 Page 6 of 8


                                                                  Page 553
   1    output market as you define it, you

   2    didn't do a SSNIP analysis for cable

   3    stations or cable networks?

   4               A.       I don't recall doing a

   5    SSNIP, but I would have to go back and

   6    refer to my -- from that perspective, but

   7    I would have to go back and refer to my

   8    initial report.

   9               Q.       Okay.     And do you -- are you

  10    able to say today whether cable stations

  11    or cable networks are customers in the

  12    relevant output market that you defined?

  13               A.       I think that with the caveat

  14    that we are studying the non-pay-per-view

  15    events, which, of course, are not the

  16    important or salient or marketable or

  17    valuable component of the content that's

  18    being created, I think that you could say

  19    that the cable networks can serve as a

  20    proxy for the preferences of the ultimate

  21    consumers, but I think that I conducted

  22    my relevant output market analysis from

  23    the perspective of the ultimate consumers

  24    or customers, namely, the viewers.
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                                                                  Page 554
   1               Q.       Are the consumers the only

   2    relative -- relevant customers in the

   3    output market you have defined?

   4               A.       Can I have it back?

   5                              -   -    -

   6                        (The reporter read from the

   7               record as requested.)

   8                              -   -    -

   9    BY MR. ISAACSON:

  10               Q.       And by "consumers," I mean

  11    individuals who attend or watch events,

  12    such as myself.

  13               A.       I am going to have it back.

  14    I am sorry.

  15               Q.       Sure.     I don't blame you.

  16                              -   -    -

  17                        (The reporter read from the

  18               record as requested.)

  19                              -   -    -

  20    BY MR. ISAACSON:

  21               Q.       And by "consumers," I mean

  22    individuals who attend events or watch

  23    them.

  24               A.       I don't know what it means
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                                                                  Page 648
   1                           CERTIFICATE
   2
   3
   4               I HEREBY CERTIFY that the
   5    witness was duly sworn by me and that
   6    the deposition is a true record of
   7    the testimony given by the witness.
   8
   9
  10
  11
  12    ________________________________________
  13               Lori A. Zabielski
  14               Registered Professional Reporter
  15               CaseViewNet Reporter
  16               Dated:      January 24, 2018
  17
  18
  19
  20
  21
  22                        (The foregoing certification
        of this transcript does not apply to any
  23    reproduction of the same by any means,
        unless under the direct control and/or
  24    supervision of the certifying reporter.)
